 Prob 12C
 TNN1P (11/2018)


                          UNITED STATES DISTRICT COURT
                                          for
                              Middle District of Tennessee

      Superseding Petition for Summons/Warrant for Offender on Supervision
                [Supersedes Petition Filed as Docket Entry No. 1141

Name: Byron Wafrock                                    Docket Number: 3:16CR00203-002
Name of Current Judicial Officer: Honorable Waverly D. Crenshaw, Jr., Chief U.S. District Judge
 Date of Original Sentence: April 3, 2018
 Original Offense: 18 U.S.C. § 1349 Conspiracy to Commit Mail and Wire Fraud Affecting a Financial Institution
 Original Sentence: 46 months' custody and three years' supervised release
 Type of Supervision: Supervised release               Date Supervision Commenced: April 29, 2020
 Assistant U.S. Attorney: Stephanie Toussaint          Defense Attorney: Eileen Parrish


                                 PETITIONING THE COURT
 ❑ To Issue a Summons
 ❑ To Issue a Warrant
 ® To Consider Additional Violations\Information


The Court Orders:
❑ No Further Action at this Time
❑ The Issuance of a Summons
❑ The Issuance of a Warrant
       ❑ Sealed Pending Warrant Execution (cc: U.S. Probation and U.S. Marshal only)
®' The Consideration of Additional Violations and/or Information
❑ Other

                                                        I declare under penalty of perjury that the
Considered, this /   day of &         's                foregoing is true and correct.
2021, and made part of the record itPthe above          Respectfully submitted this 101h day of August,
case.                                                   2021.


V~                                                      Amanda Michele
Honorabl     averly D. Crenshaw, J .                    Senior U.S. Probation Officer
Chief U.S. District Judge
                                                        Place: Nashville, TN




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                                       ALLEGED VIOLATIONS

The information provided in the previous petition, filed as docket entry No. 114, has been amended as
follows:

          Compliance with Supervision Conditions - amended to provide updated information following
                                                   the revocation hearing on July 12, 2021

          Update on Offender Characteristics - information added to reflect employment status

The probation officer believes that the offender has violated the following condition(s) of supervision:

 Violation No.         Nature of Noncompliance

     1.                The defendant shall pay restitution, joint and several with codefendant
                       Chase Campbell, in an amount totaling $47,484.53, at a rate of 10% of his
                       gross monthly income. The defendant shall pay a $100.00 special assessment.

                       Since Mr. Wafrock's release from custody in April 2020, he has not made a
                       payment toward his restitution. The current balance owed is $47,194.83. Of note,
                       the payments made, thus far, have been by his codefendant, Chase Campbell.

                       Mr. Wafrock has made two payments toward his special assessment, but those
                       were made while he was in the Bureau of Prison' custody. The current balance
                       owed is $50.00

           2.          You must work full time (at least 30 hours per week) at a lawful type of
                       employment, unless the probation officer excuses you from doing so. If you do
                       not have full-time employment, you must try to find full-time employment,
                       unless the probation officer excuses you from doing so. If you plan to change
                       where you work or anything about your work (such as your position or you
                       job responsibilities), you must notify the probation officer at least 10 days
                       before the change. If notifying the probation officer at least 10 days in advance
                       is not possible due to unanticipated circumstances, you must notify the
                       probation officer within 72 hours of becoming aware of a change or expected
                       change.

                       Mr. Wafrock has failed to work toward or obtain gainful employment since April
                       2020.

                       During Mr. Wafrock's transitionary period at the Residential Reentry Center
                       (RRC), he obtained employment with the J.W. Marriott Hotel, located in downtown
                       Nashville, in December 2019. At the start of supervision in April 2020, Mr.
                       Wafrock reported that he was currently laid off from the hotel, due to the
                       coronavirus. Since that time, the probation officer has repeatedly encouraged Mr.
                       Wafrock to seek alternate employment, so he could support himself and make
                       payments toward his restitution, but he has failed to do so.

Compliance with Supervision Conditions and Prior Interventions:
Byron Wafrock began his term of supervised release on April 29, 2020, and his supervision is due to
terminate on April 28, 2023. Between April 2020 and January 2021, Mr. Wafrock was unemployed and




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living in Nashville, Tennessee. According to Mr. Wafrock, he was receiving financial assistance from his
father and through unemployment benefits.

While in the Bureau of Prisons' custody, Mr. Wafrock participated in the 500-hour Residential Substance
Abuse and Treatment Program (RDAP). In February 2020, he completed the transitionary portion of the
program while in residency at the Residential Reentry Center (RRC). Following his release to supervision
in April 2020, Mr. Wafrock stated that he was in a "good place" in his life and did not need additional
therapy. He did obtain a valid prescription for Suboxone through Applegate Recovery in Nashville.
According to Mr. Wafrock, he decided to stop taking Suboxone in October 2020, noting that he simply did
not "need" the medication further. Mr. Wafrock has been randomly drug tested since beginning supervision
and all drug tests have yielded negative results.

A petition for summons was submitted to the Court on November 19, 2020, regarding Mr. Wafrock's
failure to make payments toward his restitution and his failure to obtain full-time employment since
April 2020. His revocation hearing was continued numerous times to give him time to obtain and
maintain employment and begin making timely restitution payments. Mr. Wafrock obtained
employment with Pella Windows and Doors, through a temporary agency, in January 2021. He began
making restitution payments and his balance is currently $45,935.91.

A revocation hearing was held on July 12, 2021. On that date, Mr. Wafrock pleaded guilty to both
reported violations. His sentence was held in abeyance, pending the probation officer's superseding
petition to address his positive drug test on July 12, 2021, for a medication without a valid
prescription (Buprenorphine). According to Mr. Wafrock, his doctor gave him permission to "space"
out his dosage due to financial reasons. The probation officer directed Mr. Wafrock to provide
documentation from his doctor to verify his statement. A letter was provided, by Mr. Wafrock, on
July 20, 2021, which was prepared by his treating Suboxone physician, Dr. William Conway, of the
Conway Clinic. The probation officer reviewed the letter and statements made by Dr. Conway were
not clear as it relates to approving his patient to "space" out his medications. The probation officer
informed Mr. Wafrock that the letter did not justify his positive drug test on July 12, 2021. Mr.
Wafrock informed the probation officer that he would provide another letter from his doctor that
was "more clear." This letter was provided by Mr. Wafrock on August 3, 2021. On August 10, 2021,
the probation officer was able to verify this information with Dr. Conway.

Update of Offender Characteristics:
Mr. Wafrock changed jobs on July 19, 2021. He is still employed through the same temporary service
but is his new job is with Conklin Metal Industries.

U.S. Probation Officer Recommendation:
It is respectfully recommended that this additional information be considered at Mr. Wafrock's next
revocation hearing, which has not yet been scheduled by the Court.




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                       SENTENCING RECOMMENDATION
    UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE
          UNITED STATES V. BYRON WAFROCK CASE NO. 3:16CR00203-002

GRADE OF VIOLATION:                       C
CRIMINAL HISTORY:                         IV

ORIGINAL OFFENSE DATE:                  POST APRIL 30, 2003            PROTECT ACT PROVISIONS

                         Statutory Provisions        Guideline Provisions       Recommended
                                                                                Sentence

 Custody:                3 years (Class B felony)    6-12 months                No Recommendation
                         18 U.S.C. § 3583(e)(3)      U.S.S.G. § 7B1.4(a)

 Supervised Release:     5 years less any term of    2-5 years                  No Recommendation
                         imprisonment                U&S,G § 5D1.2(a)(1)
                         18 U.S.C. § 3583(i)

Statutory Provisions:
Under 18 U.S.C. § 3583(e)(3) the Court may revoke a term of supervised release, and require the defendant
to serve in prison all or part of the term of supervised release authorized by statute for the offense that
resulted in such term of supervised release without credit for time previously served on post release
supervision, if the Court finds by a preponderance of the evidence that the defendant violated a condition
of supervised release. When a term of supervised release is revoked and the defendant is required to serve
a term of imprisonment, the Court may include a requirement that the defendant be placed on a term of
supervised release after imprisonment. The length of such a term of supervised release shall not exceed the
term of supervised release authorized by statute for the offense that resulted in the original term of
supervised release, less any term of imprisonment that was imposed upon revocation of supervised release,
in accordance with 18 U.S.C. § 3583(h).

Guideline Policy Statements:
U.S.S.G. § 7B1.1(a)(3) Grade C Violations - conduct constituting (A) a federal, state, or local offense
punishable by a term of imprisonment of one year or less; or (B) a violation of any other condition of
supervision.

U.S.S.G. § 7B1.3(a)(2) Upon a finding of a Grade C violation, the court may (A) revoke probation or
supervised release; or (B) extend the term of probation or supervised release and/or modify the conditions
of supervision.

Approved:



     Britton Shelton
     Supervisory U.S. Probation Officer




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LF021
REV 05/0!                                               VIOLATION WORKSHEET


        1.          Defendant Byron Wafrock

        2.           Docket Number (Pear-Sequence-Defendant No)                0650 3:16CR00203 - 2

                                       Middle District of Tennessee - Nashville
        3.           District/Office
                                                    4       /   3     / 2018
        4,           Original Sentence Date
                                                 111071th       day     year

        5            Original District/Office
                     (if different than above)

            W        Original Docket Number (Pear-Sequence-Defendant No,)

            7        List each violation and determine the applicable grade (see §7131.1):

                     Violation(s)                                                                              Grade
                    Shall pay restitution and a special assessment.                                                 C

                    Must work full time.                                                                            C




        8.          Most Serious Grade of Violation (see §7BL I (b))

                                                                                                                    IV
        9.          Criminal History Category (see §7B1.4(a))
        10,         Range of Imprisonment (see §7B1,4(a))                                             6- 12   months

        11.         Sentencing Options for Grade B and C Violations Only (Check the appropriate box):

       ®           (a) If the minimum term of imprisonment determined under §7B1,4 (Term of Imprisonment)
                    is at least one month but not more than six months, §713 13(c)(1) provides sentencing options
                    to imprisonment.
                   (b) If the minimum term of imprisonment determined under §713 1.4 (Term of Imprisonment)
                    is more than six months but not more than ten months, §713 13(c)(2) provides sentencing
                   options to imprisonment.
                   (c) If the minimum term of imprisonment determined under §713 1.4 (Term of Imprisonment)
                   is more than ten months, no sentencing options to imprisonment are available.

                               Mail documents to: United States Sentencing Commission
                                   Ste 2-500, South Lobby, One Columbus Cir, NE
                                            Washington, DC 20002-8002
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REV 05101




                                                              Defendant           Wafrock



            12    Unsatisfied Conditions of Original Sentence

                  List any restitution, fine, community confinement, home detention. or intermittent
                  confinement previously imposed in connection with the sentence for which revocation is
                  ordered that remains unpaid or unnerved at the time of revocation (see §713 1.3(d)):


                  Restitution($) $45,935.91                        Community Confinement

                  Fine($)                                          Home Detention
                  Other                                            Intermittent Confinement
            13    Supervised Release
                  If probation is to be revoked, determine the length, if any, of the term of supervised release
                  according to the provisions of §§5D1.1-1.3 (see §§7131.3(g)(1)).


                                     Term                   to                   years

                  If supervised release is revolted and the term of imprisonment imposed is less than the
                  maximum term of imprisonment imposable upon revocation, the defendant may, to the
                  extent permitted by law, be ordered to recommence supervised release upon release from
                  imprisonment (see 18 U.S.C. §3583(e) and §7131.3(g)(2)).

                  Period of supervised release to be served following release from
                  imprisonment:

            14.   Departure
                  List aggravating and mitigating factors that may warrant a
                  sentence outside the applicable range of Imprisonment:




             15   Official Detention Adjustment (see §713 1.3(e)):                   months                   days




                            Mail documents to: United States Sentencing Commission
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                                         Washington, DC 20002-8002
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